Case 1:21-cr-00083-TNM Document 73-3 Filed 03/07/22 Page 1 of 1

       

   

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ACKNOWLEDGEMENT OF ACCEPPFANCE/REFUSA),

This correspondence serves as documentation to acknowledge my Acceptance or refusal of the
Surveillance DVD Program located in the facility’s Special Management Unit (SMU) Unit, South One.

(1) Laptop: OS

2) DVD's: _ LUUMsB Deu”

Acceptance By:

Print Name:

 

Signature:

 

Refusal By:
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